Case 1:20-cv-00840-BKS-CFH Document 54-4 Filed 09/03/20 Page 1 of 7




                   EXHIBIT C
9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 2 of 7
                                                                         of Counsel

    Home          Appeals           Serving Legal Papers     Charters and Regents        Commissioner's Consents


                                       Guidance Documents        Rules and Regulations



   Decision No. 17,891
                     Appeal of E.Y., on behalf of her son E.Y., from action of the Board of Education of the
                     Coxsackie-Athens Central School District regarding immunization.

                                                            Decision No. 17,891

                                                              (July 30, 2020)

            Siri & Glimstad, LLP, attorneys for petitioner, Brian Rabkin, Esq., of counsel

            Hogan, Sarzynski, Lynch, DeWind, & Gregory, LLP, attorneys for respondent, John P. Lynch, Esq., of
            counsel

   TAHOE., Interim Commissioner.--Petitioner appeals the determination of the Board of Education of the
   Coxsackie-Athens Central School District (“respondent”) that her son (“the student”) is not entitled to a
   medical exemption from the immunization requirements of Public Health Law (“PHL”) §2164. The appeal
   must be dismissed.

   Prior to the 2019-2020 school year, the student received a religious exemption from the vaccination
   requirements of PHL §2164. PHL §2164(9) previously included provisions authorizing an exemption based
   on religious beliefs to required immunizations. However, on June 13, 2019, Chapter 35 of the Laws of 2019
   was enacted, e ective immediately, which repealed subdivision nine of PHL §2164, thus eliminating the
   religious exemption to immunization requirements to attend school.

   On or about August 23, 2019, petitioner submitted a medical exemption request form, signed by the
   student’s physician and dated August 16, 2019, seeking a medical exemption for the student from the
   immunization requirements of PHL. The student’s physician indicated that the student required a medical
   exemption to all eight required vaccinations and that the “[d]ate [the] exemption end[ed] (if applicable)” was
   “9/14/2022.”[1] In an attached letter also dated August 16, 2019, the student’s physician opined that the
   student had “not been vaccinated” and that “a medical exemption to immunizations [was] appropriate at this
   time” because the student “has had multiple issues, including multiple food allergies, Gluten Enteropathy,
   abnormal thyroid function, mitochondrial dysfunction and induced porphyria due to lead and mercury
   exposure.” The student’s physician further indicated that the student had “overcome many issues that [had]
   manifested as behavioral issues,” including “PANDA[S].”[2] Because of this medical history, the student’s
   physician concluded “that there [was] an increased risk of adverse events in [the student]....”

   By letter dated September 16, 2019, respondent informed petitioner that its school physician had reviewed
   the medical exemption request and determined that the student did “not meet the requirements for a
   medical exemption.” Respondent thus denied petitioner’s request for a medical exemption and informed
   petitioner that, if she did not obtain “evidence of immunization appointments by September 19, 2019,” the
   student would be “excluded from attendance.” Respondent attached a letter from the school physician,
   dated September 10, 2019, in which he indicated he had reviewed the student’s le, the “Medical Exemption
   Physician’s Certi cation,” and the applicable public health laws. The school physician concluded that the
   student did “not qualify for a medical exemption” because “[n]either [the student’s] medical records nor the
   Physician’s Certi cation re ect[ed] any contraindications or precautions.” Petitioner then commenced an
   appeal pursuant to Education Law §310 challenging respondent’s September 16, 2019 determination.
www.counsel.nysed.gov/Decisions/volume60/d17891                                                                     1/6
9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 3 of 7
                                                                         of Counsel

   Petitioner’s request for interim relief was denied on September 27, 2019. Petitioner thereafter withdrew her
   appeal.

   On or about October 5, 2019, petitioner submitted a second medical exemption request form, dated October
   4, 2019, again seeking a medical exemption for the student with respect to all eight required immunizations.
   The section of the form inquiring as to the “[d]ate exemption ends (if applicable)” was left blank. In an
   attached letter dated October 5, 2019, the student’s physician provided an identical justi cation for the
   student’s exemption from each of the eight required vaccinations:

                      Th[e] immunization may be detrimental to [the student’s] health. [The student] meets the
                      de nition of ‘precaution’ which includes a condition that might increase the risk for a serious
                      adverse reaction or any condition that might confuse diagnostic accuracy. The risk from the
                      vaccine is believed to outweigh the bene t. [The student] su ers from ... PANDAS ... ,
                      mitochondrial dysfunction, thyroid disease, induced environmental porphyria, hypoglycemia,
                      irritable bowel syndrome, increased intestinal permeability, gluten enteropathy, and multiple
                      food and environmental allergies. These moderate or severe illnesses may be episodic with
                      acute onset. This precaution avoids causing diagnostic confusion between manifestations of
                      the underlying illnesses and possible adverse e ects of vaccination or superimposing
                      adverse e ects of the vaccine on the underlying illnesses.”

   In a letter to petitioner dated October 8, 2019, respondent indicated that its school physician had reviewed
   petitioner’s second medical exemption request and concluded that it “fail[ed] to meet the exemption
   standards articulated in New York State Department of Health Regulations.” Respondent thus advised
   petitioner that the student “remain[ed] excluded from school on the basis that [petitioner had] not
   presented evidence of immunization as required.” In an attached letter dated October 8, 2019, the school
   physician wrote that his “professional interpretation remain[ed] that [the student did] not qualify for a
   medical exemption,” as “there remain[ed] no medical support for the conclusion.” This appeal ensued.
   Petitioner’s request for interim relief was denied on November 18, 2019.

   Petitioner argues that respondent’s denial of her second medical exemption request was arbitrary and
   capricious because the request “comported with statute and regulations.” Petitioner contends that the
   school physician improperly utilized “standardized guidance as ... the sole determining factor” without
   “consider[ing] [the student’s] medical history and genetic composition” or “investigat[ing] [the student’s]
   diagnosis or seek[ing] expert advice.” Petitioner further asserts that the school physician “refused to accept
   supporting documentation from [the student’s] treating physician.” Petitioner additionally argues that
   respondent should have conducted “further inquiry” into the student’s circumstances and that the school
   physician, as a district employee, has “an inherent and irreconcilable con ict of interest ....” Finally, petitioner
   argues that respondent “deprived [her] of due process by refusing to disclose the reason for the denial and
   failing to inform [her] of her right to appeal.” Petitioner seeks a determination that the student is entitled to
   a medical exemption from the immunization requirements of PHL §2164.

   Respondent contends that the petition should be dismissed as untimely and as moot. On the merits,
   respondent contends that petitioner has failed to demonstrate that the student is entitled to a medical
   exemption. Respondent also argues that its decision to deny the student a medical exemption, based on the
   school physician’s determination, was not arbitrary and capricious.

   First, I must address several procedural issues. Respondent argues that the petition is untimely because it
   was not served until November 6, 2019 and the student has been excluded from school since September 19,
   2019, pursuant to respondent’s denial of petitioner’s rst request for a medical exemption. Petitioner
   responds that the instant appeal is timely because it was commenced within 30 days of respondent’s denial
   of her second medical exemption request.[3] I agree with petitioner.



www.counsel.nysed.gov/Decisions/volume60/d17891                                                                           2/6
9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 4 of 7
                                                                         of Counsel

   It is well-settled that an appeal to the Commissioner must be commenced within 30 days from the making of
   the decision or the performance of the act complained of, unless any delay is excused by the Commissioner
   for good cause shown (8 NYCRR §275.16; Appeal of S.H., 59 Ed Dept, Decision No. 17,691; Appeal of Saxena,
   57 Ed Dept Rep, Decision No. 17,239; Appeal of Lippolt, 48 id. 457, Decision No. 15,914). The student’s date
   of exclusion is not the making of the decision complained of; rather, it is merely a consequence of the
   decision (see Appeal of C.H., 57 Ed Dept Rep, Decision No. 16,465). Accordingly, I decline to measure
   petitioner’s 30-day timeframe in which to commence an appeal from the date of the student’s exclusion from
   school, as respondent suggests.

   Respondent also contends that the appeal is untimely because “there is no support for the proposition that
   resubmission of a medical exemption after the rst submission relates back to the rst ling.” Although
   petitioner’s second request for a medical exemption sought the same relief as her rst request, petitioner
   submitted additional information in support of her second request. Moreover, respondent entertained
   petitioner’s second request and rendered a new determination thereon on October 8, 2019 (see Appeal of
   Clarey, 59 Ed Dept Rep, Decision No. 17,703; Appeal of Ski , 57 id., Decision No. 17,191). Because petitioner
   commenced the instant appeal on November 6, 2019 – within 30 days of respondent’s October 8, 2019
   determination – I decline to dismiss the appeal as untimely under these circumstances.

   Further, respondent’s argument that the petition has been rendered moot by petitioner’s withdrawal of her
    rst appeal is without merit. The appeal cited by respondent, Appeal of Federico (38 Ed Dept Rep 351,
   Decision No. 14,052) is distinguishable. In Federico, the petitioner challenged the election of a school board
   member and requested that the election results be set aside and the board member be prevented from
   taking o ce. Subsequently, the petitioner withdrew his request that the board member be barred from
   o ce, indicating that he only sought a review of the board’s election procedures. After the elected board
   member began serving on the board and “had been carrying out his duties ... for nearly seven months,” the
   petitioner sought to reinstate his request to set aside the election results. The Commissioner held that,
   given “the signi cant reliance on [the] petitioner’s earlier representation” that he wished to withdraw his
   request for relief, it would be inequitable to consider such request thereafter.

   Here, unlike in Federico, respondent has failed to establish that it relied on petitioner’s withdrawal of her
   prior appeal to its detriment or that my consideration of petitioner’s instant appeal will result in any undue
   prejudice. Moreover, this appeal presents a live controversy insofar as the student continues to be excluded
   from respondent’s schools based on the denial of petitioner’s request for a medical exemption. Therefore, I
   decline to dismiss this appeal as moot.

   Finally, petitioner submits two letters from Members of the Assembly in support of her petition. While the
   scope of my review is limited to determining whether respondent acted in an arbitrary or capricious manner
   based on the information before it, I have nevertheless accepted these letters and a orded them due
   consideration.

   Turning to the merits, PHL §2164 generally requires that children between the ages of two months and
   eighteen years be immunized against certain diseases and provides that children may not attend school in
   the absence of acceptable evidence that they have been immunized. The law provides an exception to
   immunization: immunization is not required if a licensed physician certi es that immunization may be
   detrimental to a child's health (PHL §2164[8]). The relevant portion of PHL §2164(8) provides:

                     If any physician licensed to practice medicine in this state certi es that such immunization
                     may be detrimental to a child's health, the requirements of this section shall be inapplicable
                     until such immunization is found no longer to be detrimental to the child's health.

   In August 2019, the New York State Department of Health (“DOH”) amended the de nition of the phrase
   “[m]ay be detrimental to the child’s health,” as set forth in its regulations, to mean:


www.counsel.nysed.gov/Decisions/volume60/d17891                                                                       3/6
9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 5 of 7
                                                                         of Counsel

                     that a physician has determined that a child has a medical contraindication or precaution to a
                     speci c immunization consistent with ACIP guidance or other nationally recognized evidence-
                     based standard of care

   (10 NYCRR §66-1.1[l]).[4]

   In an appeal to the Commissioner, a petitioner has the burden of demonstrating a clear legal right to the
   relief requested and the burden of establishing the facts upon which petitioner seeks relief (8 NYCRR
   §275.10; Appeal of P.C. and K.C., 57 Ed Dept Rep, Decision No. 17,337; Appeal of Aversa, 48 id. 523, Decision
   No. 15,936; Appeal of Hansen, 48 id. 354, Decision No. 15,884).

   Petitioner has failed to meet her burden of proving that respondent’s determination was arbitrary or
   capricious. Petitioner has not o ered any information that contradicts or disproves respondent’s conclusion
   that the student was not entitled to a medical exemption. Notably, petitioner does not o er additional
   evidence, such as an a davit from the student’s physician, containing su cient information to identify that
   the student currently has a precaution or a contraindication to any of the eight required vaccinations (10
   NYCRR §66-1.1[l]). The evidence submitted by petitioner consists primarily of printouts of DOH and Centers
   for Disease Control (CDC) websites about certain immunizations and diseases, including PANDAS. This
   material consists of general information concerning vaccines but does not address the student’s unique
   circumstances.

   Nor am I am persuaded by petitioner’s argument that the guidelines published by the CDC’s Advisory
   Committee on Immunization Practices (“ACIP”) demonstrate that respondent’s determination was arbitrary
   or capricious. Under the ACIP guidelines, “the presence of a moderate or severe acute illness with or without
   a fever constitutes a precaution to administration of all vaccines.” As indicated, in support of petitioner’s
   second medical exemption request, the student’s physician wrote that the student met “the de nition of
   ‘precaution’” because the student “su ers from” various “moderate or severe illnesses [that] may be episodic
   with acute onset.” However, as explained in the ACIP guidelines, whether or not a precaution exists hinges
   on the “presence of a moderate or severe acute illness” (emphasis added). Thus, the current presence of
   acute illness of a moderate or severe nature is the critical factor in determining whether to defer vaccination,
   not merely the presence of “moderate or severe illnesses [that] may be episodic with acute onset” (emphasis
   added).

   Further, the ACIP guidelines dictate that, “[a]fter they are screened for contraindications, persons with
   moderate or severe acute illness should be vaccinated as soon as the acute illness has improved.” Thus, a
   precaution to vaccination does not exist in perpetuity. Rather, the ACIP guidelines indicate that the
   precaution to vaccination only exists until such acute episode resolves. Therefore, I cannot nd that
   petitioner has met her burden of proving that the student meets the de nition of having a precaution or
   contraindication for any of the required vaccines consistent with ACIP guidelines.

   Petitioner also complains that respondent did not consider a July 30, 2019 letter from a physician in
   Massachusetts in connection with her medical exemption request. Initially, the record is unclear as to
   whether petitioner attempted to submit this letter to respondent and, if so, whether respondent refused to
   consider it. Petitioner alleges that she contacted the school physician after respondent denied her rst
   request and that the school physician “refused to consider any additional information or documents ...
   including” the July 30, 2019 letter from the Massachusetts physician. Respondent indicates that it “[l]acks
   information or knowledge su cient to form a belief” as to these allegations. Therefore, it is unclear whether
   petitioner expressly informed respondent of the Massachusetts physician’s letter or requested that it be
   considered.

   In any event, I have reviewed this letter and do not nd that it compels a nding in petitioner’s favor. In the
   letter, the Massachusetts physician asserted that the student has “a physiologic milieu” that “increases the
   risk of adverse reactions to vaccines.” However, the physician also indicated that the student’s “medical
www.counsel.nysed.gov/Decisions/volume60/d17891                                                                       4/6
9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 6 of 7
                                                                         of Counsel

   conditions were managed with nutritional interventions, targeted supplements and prescription
   medications, as needed,” and that the student had “experienced steady improvement with ongoing
   treatment and avoidance of toxins and attention to diet.” Nevertheless, the doctor recommended that, “in
   order to assure continue[d] progress and health, [the student] should continue to avoid routine
   vaccination.” I cannot nd that this physician’s recommendations satisfy the de nition of “detrimental to a
   child’s health” set forth in (10 NYCRR §66-1.1[l]). While the physician opined that the student should avoid
   vaccination, he did not identify any speci c contraindications or precautions to the required vaccinations, let
   alone contraindications or precautions consistent with the ACIP guidelines or another nationally recognized
   evidence-based standard of care (10 NYCRR §66-1.1[l]; see also Appeal of P.K., 59 Ed Dept Rep, Decision No.
   17,802). Thus, this physician’s letter does not satisfy petitioner’s burden of proof in this appeal.[5]

   Further, petitioner’s argument that respondent acted arbitrarily and capriciously because its physician
   recommended denial of her request “without further inquiry” is without merit. DOH regulations indicate that
   a request for a medical exemption from immunization must “contain[] su cient information to identify a
   medical contraindication to a speci c immunization” and permit, but do not require, a principal or person in
   charge of a school to “require additional information supporting the exemption” (10 NYCRR §66-1.3[c]).
    Therefore, respondent was not required to seek or obtain any additional information. Indeed, the appeals
   cited by petitioner do not impose such a requirement (Appeal of E.C., 58 Ed Dept Rep, Decision No. 17,638;
   compare Appeal of M.E.F., 43 id. 248, Decision No. 14,987 [“an oral statement of a DOH employee, without
   more, is an insu cient reason to reject [a] request for a medical exemption”]). In any event, respondent, in
   fact, sought and obtained additional information from its school physician, which was within its discretion
   (10 NYCRR §66-1.3[c]; see also Lynch v. Clarkstown Cent. Sch. Dist., 155 Misc2d 846; Appeal of D.F., 50 Ed
   Dept Rep, Decision No. 16,132).[6]

   Finally, petitioner’s claim that respondent denied her due process is unpersuasive. As noted above, the
   October 8, 2019 letter from respondent’s school physician stated his conclusion that there was “no medical
   support” for a medical exemption. Additionally, respondent had previously explained its reasoning in
   connection with its denial of the rst medical exemption request. Under these circumstances, I nd that
   respondent su ciently explained its denial of petitioner’s request (see Appeal of a Student with a Disability,
   56 Ed Dept, Decision No. 16,954). In any event, the remedy for inadequate reasoning would be a remand of
   the appeal, not, as petitioner requests, a determination in her favor (see Appeal of S.C., 58 Ed Dept Rep,
   Decision No. 17,606).

   Finally, although petitioner asserts that respondent violated her right to due process insofar as respondent
   did not notify her of her right to appeal, she has failed to establish that respondent had any such duty under
   PHL §2164. Regardless, I note that petitioner did in fact appeal respondent’s denials of both her rst and
   second requests for a medical exemption. Thus, even assuming, arguendo, that respondent erred in failing
   to notify petitioner of her right to appeal, any such error would be harmless under these circumstances (see
   Appeal of a Student with a Disability, 59 Ed Dept Rep, Decision No. 17,845).

   While I am empathetic to petitioner and the student’s circumstances, petitioner has failed to show that
   respondent’s determination was arbitrary or capricious. Accordingly, the appeal must be dismissed (see
   Appeal of J.S. and D.S., 55 Ed Dept Rep, Decision No. 16,821; Appeal of D.F., 50 id., Decision No. 16,132).

   I have considered petitioner’s remaining contentions and nd them to be without merit.

   THE APPEAL IS DISMISSED.

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9/1/2020          Case 1:20-cv-00840-BKS-CFH Decision
                                              Document        54-4
                                                      No. 17,891 | OfficeFiled  09/03/20 Page 7 of 7
                                                                         of Counsel

   [1] The medical exemption request, a standardized form published by the New York State Department of
   Health, provides eight boxes that a physician can check to indicate the vaccinations to which the request
   pertains. Petitioner’s physician checked all eight boxes.



   [2] PANDAS is an acronym that stands for Pediatric Autoimmune Neuropsychiatric Disorders Associated with
   Streptococcal Infections.



   [3] Petitioner further asserts that her appeal would be timely even if measured from the date the student
   was excluded from school because the student was excluded “on October 7, 2019.” I need not resolve the
   precise date of the student’s exclusion for the reasons set forth above.



   [4] These regulations were originally passed on an emergency basis. On December 31, 2019, the regulations
   became permanent (10 NYCRR §66-1.1[l]).



   [5] I further note that the physician’s practice is located in Massachusetts, and there is no evidence in the
   record that he is licensed to practice medicine in New York State (see 10 NYCRR §66-1.3[c]).



   [6] While petitioner additionally claims that the school physician had a “con ict of interest,” I nd this
   argument to be without merit as the building principal, a district employee, is tasked with deciding requests
   for medical exemptions (10 NYCRR §66-1.3).




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